43 F.3d 1468
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Vicki Solomon DICKERSON, Defendant Appellant.
    No. 94-6744.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  November 17, 1994Decided:  December 16, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, Chief District Judge.  (CR-90-437-A, CA-93-976-AM)
      Vicki Solomon Dickerson, Appellant Pro Se.  William Neil Hammerstrom, Jr., OFFICE OF THE UNITED STATES ATTORNEY, Alexandria, Virginia, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying her 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Dickerson, Nos.  CR-90-437-A;  CA-93-976-AM (E.D. Va.  Dec. 13, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    